        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 1 of 24




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC d/b/a NetChoice,           )
a 501(c)(6) District of Columbia organization,
                                          )
                                          )
                     and                  )
                                          )
COMPUTER & COMMUNICATIONS                 )
INDUSTRY ASSOCIATION d/b/a CCIA, a        )
501(c)(6) non-stock Virginia Corporation, )      Civil Action No. 1:21-cv-00840-RP
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )
                                          )
KEN PAXTON, in his official capacity as   )
Attorney General of Texas                 )
                                          )
       Defendant.                         )
_________________________________________ )



                             Exhibit A –
                              CCIA’s
                             Declaration
            Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 2 of 24




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 NETCHOICE, LLC, d/b/a NETCHOICE, a
 501(c)(6) District of Columbia organization;
 and COMPUTER & COMMUNICATIONS
 INDUSTRY ASSOCIATION d/b/a CCIA, a
 501(c)(6) non-stock Virginia corporation,
                                                     Civ. Action No. 21-cv-00840
 Plaintiffs,

 v.

 KEN PAXTON, in his official capacity as
 Attorney General of Texas,

 Defendant.

                      DECLARATION OF CCIA IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        I, Matthew Schruers, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

       1.        I am the President of the Computer & Communications Industry Association

(“CCIA”). I have worked at the organization for sixteen years. Upon joining the Association, I

focused on legal, legislative, and policy matters, before taking on the roles of Chief Operating

Officer and President. In each of these capacities, I have worked closely and communicated often

with CCIA members regarding how public policy proposals affect their businesses, operations,

and relationships with their users.

       2.        Trust and safety operations, and content moderation specifically, is an important

area of CCIA’s work and a constant focus for many of our members. As a result, I spend significant

time understanding the content-related policies and practices of CCIA’s members, as well as

monitoring and analyzing the legislative and policy proposals that affect the critical business



                                                 1
           Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 3 of 24




function of trust and safety. I also interact regularly with trust and safety experts throughout the

industry, and have an understanding of the challenges faced by trust and safety professionals. I

have been tracking and evaluating the various legislative proposals in Texas bearing on our

members’ editorial and curatorial discretion—including House Bill 20 (“H.B. 20”) and its

companion bills and predecessors—since before its passage so as to advise CCIA members on its

provisions and impact on their businesses.

      3.        The statements contained in this declaration are made upon my personal

knowledge. I am over 18 years of age and am competent to make the statements set forth herein.

About CCIA

      4.        CCIA is an international, not-for-profit membership association representing a

broad cross-section of companies in the computer, Internet, information technology, and

telecommunications industries. For nearly fifty years, CCIA has promoted open markets, open

systems, and open networks, and advocated for the interests of the world’s leading providers of

technology products and services before governments and the courts.

      5.        CCIA’s membership includes computer and communications companies,

equipment manufacturers, software developers, service providers, re-sellers, integrators, and

financial service companies. Currently, CCIA’s members include: Amazon, Apple, BT Group

(British Telecommunications), Cloudflare, Dish Network, eBay, Eventbrite, Facebook, Google,

Intel, Intuit, McAfee, Mozilla, Newfold Digital, Pinterest, Powerhouse Management, Rakuten,

Red Hat, Samsung, Shopify, Stripe, Twitter, Uber, Vimeo, Waymo, Wolt, Yahoo, and Zebra.

      6.        Because of the broad definition of “social media platform” within the recently

enacted H.B. 20, a number of CCIA’s members would qualify even though their services would

not be considered as such by the general public. Such members span various sectors and products,

and enable billions of users around the world to create and share using their products, whether to

                                                 2
            Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 4 of 24




facilitate work, study, prayer, socialization, commerce, or communications. These companies

moderate and curate what is displayed on their services as a vital part of operations, and some must

manage a massive and constantly expanding amount of content in order to provide valuable

products and tools for their users.

       7.        Because content moderation is central to the operations of these members, issues

surrounding trust and safety constitute a significant part of CCIA’s policy and advocacy work. To

that end—among our other endeavors and programs in this area—CCIA is currently incubating a

new non-profit organization called the Digital Trust & Safety Partnership.1 The members of this

new partnership include CCIA members and others dedicated to identifying and preventing

harmful content online.2

       8.        This new organization aims to develop and iterate upon industry best practices for,

among other things, the moderation of third-party content and behavior, with the goal of ensuring

a safer and more trustworthy Internet. The Partnership’s objectives include the facilitation of

internal assessments, and subsequently independent third-party assessments, of participants’

implementation of identified best practices for promoting the safety of their users and the online

communities that they maintain. The organization balances these collective goals with the

recognition that each of its member companies has its own values, product aims, digital tools, and

human-led processes for moderating the extremely broad range of human expression they

facilitate.




        1
         Digital Trust & Safety Partnership, https://dtspartnership.org/.
        2
          Tech giants list principles for handling harmful content, Axios (Feb. 18, 2021),
https://www.axios.com/tech-giants-list-principles-for-handling-harmful-content-5c9cfba9-05bc-
49ad-846a-baf01abf5976.html.

                                                  3
            Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 5 of 24




Content Moderation: How It Works and Why It Matters

       9.        The online services provided by many CCIA members display or support a wide

variety of user-created content in myriad forms—including text, videos, audio clips, and

photographs. The scale of users and activity on these services is significant. Facebook3 and

YouTube4 each has over two billion users. Every day, users watch over a billion hours of video on

YouTube.5 Over 100 billion messages are shared every day on Facebook.6 Billions of searches are

run on Google every day.7 More than 500 hours of content are uploaded to YouTube every minute.8

Amazon has more than 1.9 million small- and medium-sized businesses selling on its online store,9

and countless user-generated reviews are posted on the listings for the products of those businesses

and others.10

       10.       The material uploaded to these services comes from all over the world and is

incredibly diverse. The services enable and provide a forum for the height of human thought and

creativity: material that is culturally significant, highly informative, brilliantly funny or satirical,




        3
          Hearing Before The United States Senate Judiciary Committee Subcommittee on Privacy,
Technology,            and           the         Law            (Apr.         27,           2021),
https://www.judiciary.senate.gov/imo/media/doc/Bickert%20Testimony.pdf.
        4
              YouTube has over 2 billion monthly logged-in users, YouTube,
https://blog.youtube/press/.
        5
          Id.
        6
          Company Info, Facebook, https://about.facebook.com/company-info/.
        7
          Zeitgeist 2012, Google, https://www.internetlivestats.com/google-search-statistics/.
        8
              YouTube has over 2 billion monthly logged-in users, YouTube,
https://blog.youtube/press/.
        9
               2020     Letter     to     Shareholders,     Amazon      (Apr.      15,      2021),
https://www.aboutamazon.com/news/company-news/2020-letter-to-shareholders.
        10
                Update     on      customer     reviews,      Amazon       (Oct.     3      2016),
https://www.aboutamazon.com/news/innovation-at-amazon/update-on-customer-reviews.

                                                   4
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 6 of 24




and politically engaging. To raise just a few examples of notable uses of members’ services during

the ongoing public health crisis:

            a. When the COVID-19 pandemic struck, and communities implemented stay-at-

               home orders, many small businesses turned to social media services and online

               tools to continue operations, engage current and prospective customers, and

               cultivate loyalty in a socially distant context.11 Many small businesses who

               succeeded in the “shut-in economy”12 did so by embracing social media services

               and digital tools.13

            b. Amid a quarantine of indeterminate length, schools and public services both turned

               to social media tools to meet the needs of distance-education students and citizens

               with special needs, such as live captions at local government press conferences on

               public health via Facebook Live,14 and live captions for remote learning via Google

               Meet and Zoom.15 These virtual tools helped make life during social distancing

               more accessible and inclusive for people who are deaf or English-language




       11
           5 Small Business Owners Reveal How They Are Marketing On Social Media During
COVID-19, U.S. Chamber (Sept. 3, 2020), https://www.uschamber.com/co/good-
company/growth-studio/promoting-business-on-social-media-during-pandemic.
        12
           As COVID-19 Continues, Online Commerce Rises, Project DisCo (Dec. 14, 2020),
https://www.project-disco.org/competition/121420-as-covid-19-continues-online-commerce-
rises/.
        13
           See, e.g., Allison Hatfield, 7 ways technology is helping small businesses during COVID-
19, Dallas Morning News (Nov. 20, 2020), https://www.dallasnews.com/business/2020/11/20/7-
ways-technology-is-helping-small-businesses-during-covid-19/.
        14
           Powered by AI, new automated captions are helping people receive news and critical
updates, Facebook (Sept. 15, 2020), https://tech.fb.com/powered-by-ai-new-automated-captions-
are-helping-people-receive-news-and-critical-updates/.
        15
           Google Meet expands live captions to 4 more languages, extends unlimited meetings,
ZDNet (Dec. 15, 2020), https://www.zdnet.com/article/google-meet-expands-live-captions-to-4-
more-languages-extends-unlimited-meetings/.

                                                5
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 7 of 24




               learners,16 as well as helping families communicate when they are apart.17 Social

               media has also been a tool for mutual aid in Texas, both during COVID and when

               Texans lost power and heat during a storm in February and turned to digital tools

               like Twitter, Google Forms, and Venmo.18

            c. Social media and digital services are also a critical tool as learning returns to the

               classroom. For instance, in 2019 an elementary school teacher in Houston, Texas

               founded the #ClearTheList movement to help teachers clear their online wish lists

               from platforms like Amazon and Donors Choose to help teachers defray their

               personal expenses on classroom items, which now includes new technology for

               virtual learning and PPE.19 Social media has also enabled Texas country musicians

               to raise money for teachers in Texas and Oklahoma using the hashtag

               #TroubadoursForTeachers, especially as they’ve been home during COVID.20

      11.      By contrast, some of the material posted on online services is the polar opposite.

Because almost anyone can create an account and post content on certain social media services,

users can attempt to submit content ranging from dangerous, illegal, and abusive, to things that are




       16
            Live captions come to Meet in four new languages, Google (Dec. 15, 2020),
https://blog.google/products/meet/live-captions-new-languages/.
        17
            A CODA story: Why accessible technology matters, Google (Apr. 22, 2021),
https://blog.google/outreach-initiatives/accessibility/tonys-story-accessibility-features/.
        18
           Marissa Martinez, Texans used mutual aid to help their communities through a
devastating winter storm (Feb. 23, 2021), https://www.texastribune.org/2021/02/23/mutual-aid-
texas-storm/.
        19
           Allison Slater Tate, School supplies: Help teachers #ClearTheList with PPE, wipes,
TODAY (July 30, 2020), https://www.today.com/parents/school-supplies-help-teachers-
clearthelist-ppe-wipes-t188220.
        20
           Katy Blakey, Texas Country Artists Lend Their Voices to Help Teachers, NBC-DFW
(Aug. 30, 2021), https://www.nbcdfw.com/news/local/texas-country-artists-lend-their-voices-to-
help-teachers/2730463/.

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        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 8 of 24




just undesirable or annoying. A few examples of content shared on the darker side of the Internet,

which trust and safety teams work around the clock to address, include:

            a. Video footage of the mass shootings targeting a mosque in Christchurch, New

               Zealand that was recorded by the gunman and broadcast online, which despite being

               removed within minutes, resurfaced on various other services, leading to extensive

               efforts across the industry to remove the videos.21

            b. Videos and propaganda posted by ISIS to recruit American teenagers or otherwise

               persuade them to adopt its extremist ideology.22

            c. Fraud schemes that specifically target older adults online; for instance, by

               contacting a senior through social media, building a relationship, and then asking

               for money.23

            d. Sexual, graphic, or otherwise disturbing content that is lawful but may be

               inappropriate for certain audiences or contexts, such as on gaming platforms used

               by children.24




       21
                Update      on      New      Zealand,       Facebook      (Mar.     18,     2019),
https://about.fb.com/news/2019/03/update-on-new-zealand/; Olivia Solon, Six months after
Christchurch shootings, videos of attack are still on Facebook, NBC News (Sept. 20, 2019),
https://www.nbcnews.com/tech/tech-news/six-months-after-christchurch-shootings-videos-
attack-are-still-facebook-n1056691.
        22
           Dorian Geiger, This Is How ISIS Uses Social Media to Recruit American Teens, Teen
Vogue (Nov. 20, 2015), https://www.teenvogue.com/story/isis-recruits-american-teens.
        23
            Common Scams That Target the Elderly, Senior Living (Feb. 9, 2021),
https://www.seniorliving.org/research/common-elderly-scams/ .
        24
           Roblox tries to deal with adult content on a platform used by many kids (2020), Trust &
Safety Foundation (Apr. 19, 2021), https://www.tsf.foundation/blog/roblox-tries-to-deal-with-
adult-content-on-a-platform-used-by-many-kids-2020.

                                                7
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 9 of 24




            e. Content that promotes or glorifies self-harm, including suicide, or that encourages

               young people to engage in dangerous conduct, such as consuming detergent pods

               or other bizarre behavior.25

      12.      The companies my association represents, and many others like them,26 therefore

have an obvious business need to address certain kinds of content and behavior, as well as to take

action against abusive users who repeatedly or flagrantly violate their rules or post illegal,

dangerous, or offensive material. Without the ability to respond to that content per the company’s

stated policies and terms of service (along with limiting the ability of repeat offenders to continue

abusing the company’s services), many services would be flooded with abusive, objectionable,

and in some cases unlawful material, drowning out the good content and making their services far

less enjoyable, useful, and safe.

      13.      For that reason, CCIA members have rules governing what kinds of material and

uses are, and are not, permitted.27 That is also why these services put significant amounts of time,

resources, personnel, and effort into developing sophisticated trust and safety operations to protect




       25
           Chaim Gartenberg, YouTube is taking down Tide Pod Challenge videos and oh my god
don’t        eat       laundry       pods,       The        Verge    (Jan.      17,    2018),
https://www.theverge.com/2018/1/17/16902990/youtube-tide-pod-challenge-video-take-down-
community-guidelines-removal.
        26
           E.g., Drew Harwell, Rumble, a YouTube rival popular with conservatives, will pay
creators who ‘challenge the status quo’, Washington Post (Aug. 12, 2021),
https://www.washingtonpost.com/technology/2021/08/12/rumble-video-gabbard-greenwald/;
ArLuther Lee, Team Trump back in the game with new social media app called GETTR, The
Atlanta Journal-Constitution (July 2, 2021), https://www.ajc.com/news/team-trump-back-in-the-
game-with-new-social-media-app-called-gettr/L4N5FCAINBF6ZNMU4NBBMP37RA/.
        27
                   E.g.,        Pinterest         Community         Guidelines,     Pinterest,
https://policy.pinterest.com/en/community-guidelines; Facebook Community Standards,
Facebook, https://www.facebook.com/communitystandards/; The Twitter Rules, Twitter,
https://help.twitter.com/en/rules-and-policies/twitter-rules; YouTube Community Guidelines,
YouTube, https://www.youtube.com/howyoutubeworks/policies/community-guidelines/.

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        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 10 of 24




users and the public. The scope of these efforts reflects the sheer scale and volume of user-

generated content posted on popular online services.

      14.      Content moderation takes many forms, including both human review and the use

of digital tools that rely in part on algorithms (or other automated sorting). Moderation sometimes

requires removing objectionable or illegal content or terminating the accounts of users who post

it. But far more frequently, it involves context-specific decisions about how to arrange and display

content, how best to recommend content to users based on their interests, and how easy it should

be to access certain kinds of content. Instagram, for example—an image- and video-sharing service

popular with younger users (which is owned by CCIA member Facebook)—has made it harder to

search for graphic images involving suicide attempts and self-harm, and taken steps to stop

recommending such content to users.28

      15.      Another example of moderation is “age-gating,” whereby certain content is made

accessible only to adults or teenagers but not to younger children. YouTube, for example, does

this extensively.29 Content that may be age-restricted includes: videos about a cannabis dispensary;

material featuring people in sexually provocative poses; material using vulgar language; or videos

that show violent or gory imagery.30

      16.      In other circumstances, moderation includes giving users tools to decide for

themselves what content they wish to avoid, such as by obscuring potentially upsetting but clearly

newsworthy information, blocking or muting other users (meaning that they no longer see that


       28
            Tightening Our Policies and Expanding Resources to Prevent Suicide and Self-Harm,
Facebook (Sept. 10, 2019), https://about.fb.com/news/2019/09/tightening-our-policies-and-
expanding-resources-to-prevent-suicide-and-self-harm/.
         29
                             Age-restricted                  content,                  YouTube,
https://support.google.com/youtube/answer/2802167?hl=en (“Sometimes content doesn’t violate
our policies, but it may not be appropriate for viewers under 18. In these cases, we may place an
age-restriction on the video.”).
         30
            See id.

                                                 9
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 11 of 24




user’s content), making certain content inaccessible to their children, or shielding themselves from

material that is likely to offend sensitive users. For instance, YouTube provides a Restricted Mode

that users (or institutions such as libraries and schools) can choose to activate in order to avoid

such material.31 Likewise, on Instagram, users have a variety of tools for controlling how they

interact with other users’ content, including blocking accounts or commenters, muting an account

(which stops content from that user from showing up in a feed), and creating lists of words or

emojis that the user does not wish to see in the comments on his or her posts.32

      17.      Content moderation can also include direct speech by service providers. Sometimes

the services engage in direct speech when they have made a considered determination that

particular material conveyed via their service requires additional information or context. For

example, services may decide to attach warning labels, disclaimers, or general commentary

informing users that certain user-submitted content has either not been verified by official sources

or may contain upsetting imagery:

            a. Facebook adds “warning screens” over potentially sensitive content such as violent

               or graphic imagery, nudity, and posts related to suicide or suicide attempts.33

               Similarly, Twitter requires users who may legitimately intend to share violent or

               abusive but newsworthy content (such as news media, bloggers, or citizen

               journalists) to mark their accounts as sensitive, such that media can be placed

               behind interstitial warnings. This ensures unsuspecting users are not suddenly




       31
                  Disable       or       enable        Restricted       Mode,         YouTube,
https://support.google.com/youtube/answer/174084.
         32
              Keeping     Instagram    a     safe    and     supportive    place,    Instagram,
https://about.instagram.com/community/safety.
         33
              Providing context on sensitive or misleading content, Facebook,
https://transparency.fb.com/enforcement/taking-action/context-on-sensitive-misleading-content/.

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          Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 12 of 24




                   confronted with sensitive media, such as violent news coverage from war zones or

                   mass shootings.34

               b. YouTube adds labels to content by state-supported media channels, including

                   flagging sources of funding—such as for videos sponsored by the Russian

                   government.35

               c. During the 2020 election, Twitter added warning labels to Tweets making claims

                   about election results that had not been verified by official sources.36

      18.          Other times, however, content moderation is necessary so that even the most basic

online functions, like shopping or searching for local businesses or having material arranged by

topic or geography, work as intended. Without prioritizing, classifying, and ordering the never-

ending volume of online content, online services would have no way to deliver the content users

want—or even critically need—to see. This, for example, is the essential function of Internet

search engines like Google.37 The ability to search is also an essential function of many other

online services. Customers rely on services like eBay to search for products they want to buy, and

to provide helpful information and reviews about those products; users on Facebook want and

expect to be able to search for people they might know; users on Pinterest want and expect to be

able to search for recipes and design inspiration according to their taste and preferences.



          34
               Sensitive media policy, Twitter, https://help.twitter.com/en/rules-and-policies/media-
policy.
          35
             Greater transparency for users around new broadcasters, YouTube,
https://blog.youtube/news-and-events/greater-transparency-for-users-around;        State    media
warning can counteract the effects of foreign misinformation, Harvard Kennedy School
Misinformation Review, https://misinforeview.hks.harvard.edu/article/state-media-warning-
labels-can-counteract-the-effects-of-foreign-misinformation/.
        36
            Additional steps we’re taking ahead of the 2020 US Election, Twitter,
https://blog.twitter.com/en_us/topics/company/2020/2020-election-changes.html (“Tweets which
include premature claims will be labeled and direct people to our official US election page.”).
        37
           How Google Search works, Google, https://www.google.com/search/howsearchworks/.

                                                    11
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 13 of 24




      19.      Content moderation serves at least three distinct vital functions. First, it is an

important way that online services express themselves and effectuate their community standards,

thereby delivering on commitments that they have made to their communities. Content rules and

enforcement actions reflect normative judgments about what will best foster the kind of

environment that companies have promised to their users. Choices about whether to allow

pornography, depictions of violence, or certain kinds of offensive language, for example, are all

editorial expressions of the service’s own preferences—important statements about the kind of

online community it wishes to foster and what speech and speakers the company wishes to

associate with or avoid.

      20.      Second, content moderation is often a matter of ensuring online safety. Some

content posted online unfortunately can be highly dangerous, whether to specific individuals or to

the public at large. Social media companies regularly enforce their terms of service to remove

material such as illegal non-consensual intimate imagery (sometimes referred to as “revenge

pornography”), depictions of child sexual abuse, calls for genocide, efforts to steal people’s

personal information, attempts to encourage teens to commit suicide, attempts to sell illegal

weapons and drugs, content that aids counterfeiting, and efforts by foreign adversaries to

manipulate the American public. Any effort that hamstrings how online services respond to these

egregious communications threatens the safety of those services, their users, and the public.

      21.      Third, content moderation facilitates the organization of content, rendering an

online service more useful. Imagine if a search engine presented results in a random or purely

chronological order—instead of prioritizing what is most relevant. Or if an online store presented

a random assortment of products or listings—instead of those products the user actively sought




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        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 14 of 24




out. For many digital services, the main utility they offer to users is the editorial and curatorial

functions of organizing, sorting, and presenting of the vast amount of information available online.

The Importance of Content Moderation
      22.      A daily challenge facing many CCIA members is pursuing these goals—upholding

their terms in order to protect users—while addressing a massive and ever-changing body of

content that users generate. Each piece of content involves different circumstances and different

potential risks, which often requires an individualized judgment by the service regarding whether

it calls for moderation. Rightly or not, members of the public often associate digital services with

third-party content that appears on their service. Advertisers also associate digital services with

content that appears on their site, due to concerns about the indirect impact on the advertisers’

brand. The reputational costs of such connections can be permanent. Thus, objectionable content

that appears on a digital service—even if its presence were compelled by law—may irreparably

harm the business prospects of a digital service.

      23.      Normative judgments about how content is moderated within the bounds of a

service’s policies frequently involve matters of opinion and values about which people could very

well disagree. The choice of whether a violent but newsworthy video should be removed, left up,

or obscured behind an interstitial warning pursuant to a service’s policy on sensitive media is as

equally expressive as a newspaper’s calls about which stories make the front page, which editorials

appear in the opinion column, and what is newsworthy, as a general matter. The difference is that

online service providers are called upon to make moderation decisions on a vast scale for immense

volumes of content.

      24.      For example:




                                                13
       Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 15 of 24




            a. Facebook is a community of over three billion people, and over one billion “stories”

               (audio or video clips) are shared on its service every day.38 As one would expect,

               that means that Facebook has to remove millions of pieces of content each year to

               ensure that its service is safe and enjoyable for users. In the first quarter of 2021,

               Facebook removed 8.8 million pieces of “bullying and harassment content,” 9.8

               million pieces of “organized hate content,” and 25.2 million pieces of “hate speech

               content.”39 Since the beginning of the pandemic Facebook has removed over 3,000

               accounts, Pages and groups for repeatedly violating its rules against spreading

               COVID-19 and vaccine misinformation and removed more than 20 million pieces

               of content for breaking these rules.40

            b. Over 500 million accounts are active daily on Instagram, where they view and/or

               post photos, stories, and “reels.” To keep the service safe and usable, Instagram

               removed 5.5 million pieces of “bullying and harassment content,” 324,500 pieces

               of “organized hate content,” and 6.3 million pieces of “hate speech content” in the

               first quarter of 2021.41

            c. There are more than 300 billion “pins” or pieces of posted content on Pinterest.

               Because the Pinterest community is not welcoming to pornography,42 between



       38
           Company Info, Facebook, https://about.facebook.com/company-info/.
       39
            Id.; Community Standards Enforcement Report, First Quarter 2021, Facebook,
https://about.fb.com/news/2021/05/community-standards-enforcement-report-q1-2021/.
        40
            Monika Bickert, How We’re Taking Action Against Vaccine Misinformation
Superspreaders, Facebook (Aug. 18, 2021), https://about.fb.com/news/2021/08/taking-action-
against-vaccine-misinformation-superspreaders/.
        41
              Tell   your    brand     story     your     way     with    Instagram,  Facebook,
https://www.facebook.com/business/marketing/instagram; Community Standards Enforcement
Report, First Quarter 2021, Facebook, https://about.fb.com/news/2021/05/community-standards-
enforcement-report-q1-2021/.
        42
           Community guidelines, Pinterest, https://policy.pinterest.com/en/community-guidelines.

                                                14
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 16 of 24




               October and December 2020, the service took down over 2.1 million distinct

               images containing adult content, which amounted to nearly 50 million pins

               (meaning that some images were pinned by users multiple times). In addition,

               Pinterest removed over 1.3 million discrete images or 3.4 million pins containing

               spam.43

            d. In the last six months of 2020, Twitter took action against 3.5 million accounts,

               suspended over 1 million accounts, and removed 4.5 million pieces of content. With

               respect to the removed content, the top three categories were (1) “hateful conduct,”

               which includes the promotion of violence against people on the basis of race,

               gender, age, and other protected characteristics (approx. 5,737,500 instances);

               (2) “abuse/harassment” (approx. 5,053,000 instances); and (3) “sensitive media,”

               including graphic violence and adult content (approx. 3,381,000 instances).44

            e. YouTube sees 500 hours of content uploaded to its platform every minute and has

               a community of over 2 billion users.45 In the last three months of 2020 alone,

               YouTube removed just over 2 million channels and over 9 million videos for

               violations of its policies, the majority of which had fewer than ten views each at the

               time of removal due to the use of automated processes for reviewing and removing

               violative content.46 Since February 2020, YouTube has removed more than 1




       43
            Transparency report, Pinterest, https://policy.pinterest.com/en/transparency-report
       44
               Twitter    Transparency       Report,      Rules      for   Enforcement,     Twitter,
https://transparency.twitter.com/en/reports/rules-enforcement.html#2020-jul-dec.
         45
            YouTube for Press, YouTube, https://www.youtube.com/intl/en-GB/about/press/.
         46
             YouTube Transparency Report, YouTube Community Guidelines enforcement,
YouTube, https://transparencyreport.google.com/youtube-policy/removals?hl=en.

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       Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 17 of 24




               million videos related to dangerous coronavirus misinformation, like false cures or

               claims of a hoax.47

      25.      The sheer number of decisions that online services are forced to make is often

matched by the degree of difficulty and nuance involved in the hardest judgment calls. For certain

pieces of content, there is simply no right answer as to whether and how to moderate, and any

decision holds significant consequences for the service’s online environment, its user community,

and the public at large. To raise a few examples of such cases:

            a. Facebook generally aims to remove content that advertises marijuana. But for some

               pieces of content, it can be difficult to determine whether the material in question

               actually is advertising marijuana—such as when the product is obscured by

               packaging or resembles other products.48

            b. YouTube generally attempts to remove content that supports Nazi ideology or white

               supremacism. However, its policies on restricting such content are tested by

               material where it is not obvious whether the content is actually supporting Nazism

               or, instead, historical or informative in nature. For those videos, YouTube must

               determine whether ambiguous discussions regarding Nazism or interviews with

               white supremacists serve an educational function or, instead, glorify those

               ideologies.49


       47
            Neal Mohan, Perspective: Tackling Misinformation on YouTube (Aug. 25, 2021),
https://blog.youtube/inside-youtube/tackling-misinfo/.
         48
               F8    2019     Day     2     keynote     and    session    videos,    Facebook,
https://engineering.fb.com/2019/05/01/ai-research/f8-2019-day-2/.
         49
            YouTube’s new policy on Nazi content results in removal of historical and education
videos (2019), Trust & Safety Foundation, https://www.tsf.foundation/blog/youtube-s-new-
policy-on-nazi-content-results-in-removal-of-historical-and; Michael Grosack, A look at how we
treat educational, documentary, scientific, and artistic content on YouTube (Sept. 17, 2020),
https://blog.youtube/inside-youtube/look-how-we-treat-educational-documentary-scientific-and-
artistic-content-youtube/.

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        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 18 of 24




            c. Given my role within the industry, I am aware that companies beyond CCIA’s

               membership frequently face similar problems. For example, Spotify previously

               announced that it would try to harmonize its values with the artists that it promoted.

               In practice, this included moderating or removing the portfolios of artists that

               engaged in reprehensible conduct, such as sexual assault. These judgment calls,

               however, are sensitive in nature, and prompt comparisons to other artists that are

               also accused of or found responsible for misconduct.50

      26.      To make reasonable decisions about such content, a service needs flexibility to craft

policies and rules that reflect their commitment to users and to adapt those policies to the ever-

changing circumstances presented by user content. CCIA’s members have never claimed that they

will allow anyone to post any content without it being subject to moderation decisions. CCIA’s

members have always moderated content to some degree. It goes without saying that no service is

able to anticipate unexpected forms of content and decide how to moderate each instance in

advance. It is for that very reason that these services develop policies and rules that act as

guidelines for their future moderation decisions—and within which each service has the ability to

exercise discretion in specific instances.

      27.      The content that CCIA’s members moderate does not exist in a vacuum; it is also

affected by societal circumstances and/or the service’s own attitudes. Because those circumstances

and attitudes also evolve over time, adapting to changed circumstances, services may view their

terms of service differently as they gain experience and encounter new material:




       50
          Spotify enforces hateful conduct policy, removing artists from its platform for off-
platform behavior (2018), Trust & Safety Foundation, https://www.tsf.foundation/blog/spotify-
enforces-hateful-conduct-policy-removing-artists-from-its-platform.

                                                17
       Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 19 of 24




            a. Facebook, for example, has placed a greater emphasis in identifying and

               proactively suppressing racist content (such as depictions of blackface) and

               antisemitic content (such as content that denies the Holocaust or encourages the

               idea that Jews control the world), as it encounters more and more examples of that

               kind of content.51

            b. Similarly, Facebook, Instagram, Twitter, and YouTube have increasingly attempted

               to limit material that would encourage eating disorders or other forms of destructive

               self-harm.52

            c. As yet another example, YouTube recently took action to limit the influence of the

               military in Myanmar after the military launched a coup that captured control of the

               government. As a result of the changing circumstances and the military’s violence,

               YouTube prevented five television channels run by the military from conveying

               content via its service.53

            d. Twitter’s “hateful conduct policy” was updated to include “targeted misgendering

               or deadnaming of transgender individuals.” Twitter made that change as part of a

               broader change to its policy on “dehumanizing language,” which was expanded “to


       51
               Measuring     Our      Progress    Combating       Hate   Speech,     Facebook,
https://about.fb.com/news/2020/11/measuring-progress-combating-hate-speech/.
         52
            Tightening Our Policies and Expanding Resources to Prevent Suicide and Self-Harm,
Facebook, https://about.fb.com/news/2019/09/tightening-our-policies-and-expanding-resources-
to-prevent-suicide-and-self-harm/; Taking More Steps To Keep The People Who Use Instagram
Safe, Instagram, https://about.instagram.com/blog/announcements/more-steps-to-keep-instagram-
users-safe; Suicide and Self-harm Policy, Twitter, https://help.twitter.com/en/rules-and-
policies/glorifying-self-harm;       Suicide     &       self-injury    policy,      YouTube,
https://support.google.com/youtube/answer/2802245.
         53
            YouTube Bans Myanmar Military Channel as Violence Rises, New York Times (Mar. 5,
2021), https://www.nytimes.com/2021/03/05/business/youtube-myanmar.html; YouTube removes
five     Myanmar       TV    channels     from    platform,     Reuters  (Mar.    4,    2021),
https://www.reuters.com/article/us-myanmar-politics-youtube/youtube-removes-five-myanmar-
tv-channels-from-platform-idUSKBN2AX0BQ.

                                                18
       Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 20 of 24




               include content that dehumanizes others based on their membership in an

               identifiable group, even when the material does not include a direct target.”54

       28.     Furthermore, many digital services are “multi-sided markets,” meaning that their

business model unites distinct constituencies in transactions. Users, therefore, are not the only

community whose interests these services must seek to safeguard. For ad-supported, free-to-the-

user services, advertisers constitute another critical constituency. These advertisers are wary of

what some refer to as “brand damage” should their products be advertised in proximity to

problematic content. As a result, advertisers work closely with social media companies and other

digital services to reduce the chance that their advertising dollars are perceived to support

potentially harmful content or behavior.55

       29.     Advertisers are not the only parties who associate expression on members’ websites

and applications with members. For instance, the Mozilla Foundation has asserted that YouTube

“is recommending videos with misinformation, violent content, hate speech, and scams.”56

      30.      Content moderation is therefore far from static. Instead, it is a dynamic process in

which the service has to account for its own values and opinions, user preferences, and what is


       54
           Hateful conduct policy, Twitter, https://help.twitter.com/en/rules-and-policies/hateful-
conduct-policy; see How Twitter’s Ban on ‘Deadnaming’ Promotes Free Speech, New York
Times, https://www.nytimes.com/2018/11/29/opinion/twitter-deadnaming-ban-free-speech.html;
Creating                 new                policies               together,               Twitter,
https://blog.twitter.com/official/en_us/topics/company/2018/Creating-new-policies-
together.html.
        55
           Martinne Geller, Advertisers agree deal with social media on steps to curb harmful
content, Reuters (Sept. 23, 2021), https://www.reuters.com/article/tech-advertising/advertisers-
agree-deal-with-social-media-on-steps-to-curb-harmful-content-idUSKCN26E1O1; Facebook to
develop tools for advertisers to tackle harmful content, Reuters (Jan. 29, 2021),
https://www.reuters.com/article/us-facebook-advertising/facebook-to-develop-tools-for-
advertisers-to-tackle-harmful-content-idUSKBN29Y1UJ.
        56
           Mozilla, Mozilla Investigation: YouTube Algorithm Recommends Videos that Violate the
Platform’s Very Own Policies (July 7, 2021), https://foundation.mozilla.org/en/blog/mozilla-
investigation-youtube-algorithm-recommends-videos-that-violate-the-platforms-very-own-
policies/.

                                                19
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 21 of 24




happening in the world. Succeeding at that delicate balancing act requires companies to have the

freedom to evolve moderation techniques over time, both to best serve the needs of their users and

to protect the online environment that they are curating. Both the online and real world change

from second to second, and each company must be able to respond to those changes in real time

to protect its service and users.

       31.      Due to the scale at which the covered online services operate, much of their

moderation work must be done algorithmically—or at least with the assistance of algorithms or

automated processes—in order to function.

       32.      The capacity to make moderation decisions algorithmically in the first instance is

vitally important to many services offered by CCIA members. Not only do these tools facilitate

the moderation of the incalculable volume of content online, but for some of the content that

requires moderation or removal—such as graphically violent, sexual, or criminal content—time is

of the essence. An important aspect of the goodwill that many members have built up with their

users over time is the ability of moderators to respond quickly to halt the spread of dangerous,

illegal, or otherwise inappropriate content before it becomes widespread. Making certain

moderation decisions algorithmically in the first instance allows the services to respond to

objectionable content in a way that preserves the user experience, promotes online safety, and

helps ensure that the communications that our members’ services disseminate reflect their

community values.

The Burdens Posed by H.B. 20

       33.      Compliance with H.B. 20’s limitations on upholding terms of service would be

unduly burdensome at a minimum, and may not be technically feasible at all.




                                                20
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 22 of 24




      34.      Millions of Texans, and billions of people worldwide, use CCIA members’

services. And Texas users have access to all publicly available content on the websites and

applications (subject to the settings the users have activated).

      35.      H.B. 20 bans “censorship” of “viewpoint.” Yet all expressions contain a viewpoint,

of some sort, including pro-Taliban extremist content and medical disinformation aimed at the

public by foreign government propagandists.57 And “censor” is defined to include every

enforcement tool available to the covered websites and applications: “to block, ban, remove,

deplatform, demonetize, de-boost, restrict, deny equal access or visibility to, or otherwise

discriminate against expression.”

      36.      This definition even includes the platforms’ own speech, by prohibiting the

platforms from broadly (and vaguely) “discriminat[ing]” against expression. For instance, when a

platform appends a warning label or other expression on one piece of expression, but not another,

H.B. 20 would allow users to sue for the disparate treatment.

      37.      Thus, combining the requirements of the two key operative definitions, H.B. 20

prohibits the exercise of editorial and curatorial discretion in implementing content moderation

policies on the websites and applications H.B. 20 covers.

      38.      Decisions to remove a particular item of content uploaded by a user, to deprioritize

a piece of content, or to temporarily or permanently remove a user’s ability to upload content to

the service, serve different purposes within our members’ businesses. These decisions often need



       57
          Heather Greenfield, Texas Legislators Approve Bill Making It Easier To Sue Companies
For      Policies    Protecting      Users      Online,     CCIA       (Aug.      30,   2021),
https://www.ccianet.org/2021/08/texas-legislators-approve-bill-making-it-easier-to-sue-
companies-for-policies-protecting-users-online/; Rachel Pannett, Russia threatens to block
YouTube after German channels are deleted over coronavirus misinformation, Washington Post
(Sept. 29, 2021), https://www.washingtonpost.com/world/2021/09/29/russia-ban-youtube-
german-coronavirus/.

                                                 21
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 23 of 24




to strike a balance between limiting the detrimental effects of objectionable content on the services

and preserving open access.

      39.      Having a full panoply of moderation tools available enables CCIA member

companies to strike an appropriate balance in each situation. H.B. 20’s requirements would remove

the services’ ability to use those moderation tools and would upset the delicate balance between

openness and responsibility that makes many members’ services usable and enjoyable by a wide

variety of users.

      40.      H.B. 20 grants millions of Texans—and the Attorney General—the opportunity to

sue over countless editorial decisions across billions of pieces of content.

      41.      With the risk of a lawsuit for any editorial decision—backed up by H.B. 20’s grant

of authority for trial courts to impose daily punishments for “contempt”—it will be very difficult

to justify removing or moderating any content at all.

      42.      The sheer volume of content on these websites and applications will also make H.B.

20’s “disclosure” and operational provisions unduly burdensome.

      43.      For instance, the requirement for a report detailing every piece of content over

which a covered member upheld their policies would be voluminous and would ultimately deter

that member from performing content moderation or otherwise exercising editorial or curatorial

discretion.

      44.      Likewise, the notice requirement that applies whenever a Texas user is “censored”

(as H.B. 20 defines that term) would likely result in the services sending millions of such notices

per day. The breadth of the statutory definition of this term would apply to editorial decisions that

remove clearly unacceptable material.




                                                 22
        Case 1:21-cv-00840-RP Document 12-1 Filed 10/01/21 Page 24 of 24




      45.      If these provisions were to go into effect, they would seriously undermine the safety

and utility of the members’ services. The risk of liability on the basis of various provisions H.B.

20 would require many member services to substantially cut back on their moderation efforts, with

the foreseeable results of (1) leaving offensive and dangerous content accessible to the public via

the services; (2) making maintenance of family-friendly, curated collections of user-uploaded

content nearly impossible; and (3) making the services less useful for their intended purposes.

      46.      For many services, a substantial proportion of the value provided to users is the

service’s arrangement of relevant, useful, or entertaining information in a way that provides the

sort of content and experience that the user is seeking. These ways of organizing information on a

service can fall afoul of the statute’s definition of “censorship” despite being wholly conventional

and benign.

      47.      The statute’s broad and vague descriptions of what practices are prohibited leave a

number of questions unanswered, and the provisions that are comprehensible impose practices that

would severely undermine the services’ value to their users.



I declare under penalty of perjury that the foregoing is true and correct. Executed on September

29, 2021 in Washington D.C.




                                                                Matthew Schruers




                                                23
